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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF RHODE ISLAND
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In re: Steven W. DePasquale                                Case No: 19-10189

               Debtor,                                     Chapter: 7



           NOTICE TO DEBTOR(S) OF PRO SE STATUS AS RESULT OF
         ATTORNEY PETER J. FURNESS WITHDRAWAL FROM THE CASE


PLEASE TAKE NOTICE: An order granting attorney Peter J. Furness’ motion to withdraw as
attorney in this case [doc. no. 65] was entered on 7/29/2019. A copy of this Order is enclosed
with this Notice.

As a result of the entry of this order, Attorney Peter J. Furness has been removed as your
attorney and the case docket now reflects that you are proceeding Pro Se (appearing for oneself),
unless and until you engage substitute counsel who enters their appearance in the case on your
behalf. If a document is filed in your case in the future, it is your responsibility to timely
respond to it or to retain new counsel to do so. The Clerk’s office is available to answer general,
non-legal questions about the status of your case at (401) 626-3100, but for specific questions
about the administration of your case, you should contact the assigned case trustee.


                                                           /s/ Susan M. Thurston
                                                           Clerk, U.S. Bankruptcy Court



Entered on Docket: 7/29/2019
Document Number: 71




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